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                                                EXHIBIT D

                  LEASES BETWEEN DELAIR AND DE LAGE LANDEN


              Date of Lease                 Equipment                       Buyout Terms1
                06/04/03              1 Savin Model 99450PE                     FMV
                                        Copier with AROF/
                                       Finisher/Print Control/
                                          N.I.C./ Console
                 04/08/04             2 Minolta Digital Model                      FMV
                                           Di551 Copiers
                 05/13/05             1 Konica Minolta Model                       FMV
                                           Di5510 Copier
                 01/31/07            4 Nissan PL50LP Forklifts                     $1.00




  1
   FMV means that De Lage Landen retains the title to the equipment and that if there is no default, Shapes
  may purchase the equipment at the end of the term of the lease for its fair market value. $1.00 means that
  Shapes holds the title to the equipment and if there is no default, it may purchase any remaining interest
  held by De Lage Landen for $1.00 at the end of the term of the lease.
